                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 3:10-00163-23
                                                  )      Judge Trauger
SHAWN HOWELL                                      )
                                                  )

                                          ORDER

       The Motion to Adopt Defendant Prince’s Motion For Severance of Defendants and

Incorporated memorandum in Support Thereof (Docket No. 590) is GRANTED. That is,

defendant Howell will be allowed to adopt the severance motion filed by defendant Brandon

Prince (Docket No. 567).

       A ruling on the motions to sever by defendants Prince and Howell has not yet been made.

       It is so ORDERED.

       ENTER this 19th day of May 2011.




                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




 Case 3:10-cr-00163        Document 600     Filed 05/19/11     Page 1 of 1 PageID #: 1531
